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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


BETHANY BROWN,
              Plaintiff,                           Case No. 1:18-cv-00708
v.                                                 Hon.

M.G.H. FAMILY HEALTH CENTER,                       Mag.
d/b/a MUSKEGON FAMILY CARE,

           Defendant.
___________________________________________________________________
 David M. Blanchard (P67190)
 Blanchard & Walker, PLLC
 Attorneys for Plaintiff
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___________________________________________________________________

                       COMPLAINT AND JURY DEMAND

        Plaintiff Bethany Brown, through her attorneys, Blanchard & Walker, PLLC,

brings this whistleblower and breach of contract action under the federal

Enhancement of Contractor Protection From Reprisal For Disclosure of Certain

Information, 41 U.S.C. § 4712, and under state law, and states as follows:
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                                     PARTIES

        1.   Plaintiff Bethany Brown (“Plaintiff” or “Brown”) is an adult resident

of the State of Michigan. Brown is a certified nurse midwife (CNM) and nurse

practitioner (NP).

        2.   Defendant M.G.H. Family Health Center, d/b/a Muskegon Family Care

(“Defendant” or “MFC”) is a Michigan nonprofit corporation with its principal place

of business located at 2201 S. Getty Street, Muskegon, Michigan.

        3.   Defendant is a federal health center program grantee under 42 U.S.C. §

254b.

        4.   As a federal grant recipient, Defendant is subject to the whistleblower

provisions provided for in 41 U.S.C. § 4712.

                         JURISDICTION AND VENUE

        5.   This is an action for whistleblower retaliation arising under the federal

Enhancement of Contractor Protection From Reprisal For Disclosure of Certain

Information, 41 U.S.C. § 4712. This Court has subject matter jurisdiction over

Plaintiff’s claim pursuant to 28 U.S.C. § 1331 and 41 U.S.C. § 4712(c)(2) (providing

in part that “…the complainant may bring a de novo action at law or equity against

the contractor or grantee to seek compensatory damages and other relief available

under this section in the appropriate district court of the United States, which shall

have jurisdiction over such an action without regard to the amount in controversy.”).



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      6.     This action also involves a related claim for breach of contract. This

Court may hear the state law claim under the doctrine of supplemental jurisdiction,

28 U.S.C. § 1367(a), because the claim arises from the same core of facts or related

facts and circumstances.

      7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

because Defendant resides in this district and because a substantial part of the events

giving rise to the claims set forth herein occurred in this district.

      8.     Plaintiff exhausted all available administrative remedies as of June 15,

2018 pursuant to 41 U.S.C. § 4712(c).

                             GENERAL ALLEGATIONS

      9.     This case arises out of a Plaintiff’s protected conduct in protesting gross

mismanagement and waste on the part by MFC, a federal grant recipient.

      10.    Plaintiff is a highly accomplished nurse midwife and nurse practitioner.

      11.    Plaintiff began working for MFC as a nurse midwife on or around

August 20, 2007.

      12.    On or about July 20, 2009, Plaintiff executed a Nurse Midwife

Employment Agreement with Defendant. (Ex. 1, Employment Agreement)

      13.    The Employment Agreement was last renewed on or around January

23, 2014, for a one-year period commencing November 2, 2013 and ending

November 2, 2014.



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      14.      The Employment Agreement provided in relevant part that Plaintiff’s

employment “may be terminated by either party without cause on ninety (90) days

written notice of the party’s intention to do so. This Agreement may be terminated

by MFC for cause, effective upon notice to [Plaintiff].” (Ex. 1, ¶ 8(C))

      15.      On or around July 1, 2013, a group of MFC care-providers submitted a

formal complaint letter addressed to the MFC Board of Directors and its CEO, Sheila

Bridges.

      16.      The complaint letter highlighted financial mismanagement and waste

by MFC executives and board members. The letter called for the resignation of

Bridges and the entire Board by July 10, 2013. The letter also stated that the

signatories would contact the appropriate supervisory bodies if such resignations

were not forthcoming.

      17.      Plaintiff was an active participant in organizing activities among the

MFC employees and care-providers, and the letter’s recipients were aware that

Plaintiff was involved in preparing the letter and closely associated with its

signatories.

      18.      After receiving the letter, Bridges and the Board did not resign from

their positions. Instead, Bridges responded to her detractors denying the complaints

and writing that “*God* will judge you for lies and deception!”




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      19.    Around this time, several preparers of the July 1, 2013 letter, including

Plaintiff, contacted the federal Human Resources and Service Administration

(“HRSA”) regarding the financial mismanagement complained of in the letter.

      20.    Prior to the July 1, 2013 letter, Plaintiff had consistently received

positive annual performance reviews. In those earlier reviews, her evaluators

described Brown as an “exceptional provider,” “very professional,” “a great person

to be around and to work with,” and someone who goes “above and beyond her work

duties.” Plaintiff’s first review after the July 1, 2013 letter, however, reflected a

downward evaluation.

      21.    In January 2014, HRSA conducted an audit of MFC. As part of this

audit, HRSA representatives met with Plaintiff and other MFC employees. This

meeting occurred on MFC property. The auditors determined that MFC had violated

multiple conditions required of it as an HSRA grantee.

      22.    For example, the audit found that MFC had failed to follow proper

financial management controls and accounting measures, thus preventing HSRA

investigators from tracking and assessing the use of federal funds for government-

sponsored activities.

      23.    Plaintiff and other MFC employees continued to publicly complain of

the financial mismanagement and waste following the January 2014 audit.




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       24.       For example, in March 2014 Plaintiff and other current and former

MFC employees participated in an informational picket outside of MFC. The

purpose of the picketing was to draw attention to the financial mismanagement and

other corrupt practices.

       25.       Thereafter, MFC leadership manufactured false misconduct allegations

against Plaintiff and encouraged others to report Plaintiff for alleged misconduct.

       26.       One act of retaliation was on or around July 15, 2014, when MFC issued

Plaintiff    a    three-day   suspension.   The   suspension    accused   Plaintiff   of

“insubordination” for disagreeing with the medical directives of her supervisor, Dr.

Thomas McCurdy, during an obstetrician team meeting.

       27.       MFC terminated Brown on September 25, 2014. The termination letter

falsely accused Brown of “dishonest and fraudulent conduct involving the

falsification of MFC records” and of providing patient-care that was allegedly

“beyond the scope of your Nurse Practitioner Privileges.”

       28.       These allegations were used as a pretext to justify termination of

Plaintiff and to deny her contractual severance benefits. MFC relied on these false

and exaggerated justifications as a pretext for firing Plaintiff because of her

participation in making protected disclosures to HRSA. See 41 U.S.C. § 4712(a).

       29.       MFC also retaliated against Plaintiff by causing her to lose her

admitting privileges at the local hospital, interfering with her medical education, and



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disparaging her to prospective employers thus preventing her from timely securing

re-employment.

      30.    The scope-of-practice and medical record complaints were submitted

to the Mercy Health Muskegon Hospital’s Credential Committee on September 10

and 23, 2014, respectively.

      31.    Thereafter, the MFC used the complaints as a pretext to terminate

Plaintiff’s employment with MFC.

      32.    Plaintiff’s employment was terminated on September 25, 2014.

      33.    After reviewing the complaints against Plaintiff, the Credential

Committee determined the allegations lacked merit. By the time the Committee

issued its decision on November 8, 2014, however, Plaintiff’s employment with

MFC had been terminated.




                                   COUNT I
                    Whistleblower Retaliation, 41 U.S.C. § 4712

      34.    The federal Enhancement of Contractor Protection From Reprisal For

Disclosure of Certain Information (“the Act”), 41 U.S.C. § 4712, prohibits recipients

of federal funds (including contractors, subcontractors, grantees, or subgrantees)

from making reprisals against their employees for making protected disclosures.




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      35.    Protected disclosures under the Act include: allegations of gross

mismanagement of a federal contract or grant; a gross waste of federal funds; or a

violation of law, rule, or regulation related to a federal contract or grant; when such

disclosures are made to, among other persons, a management official or other

employee of the contractor or grantee who has the responsibility to investigate,

discover, or address misconduct within the organization. See 41 U.S.C.§ 4712(a).

      36.    Plaintiff engaged in protected activity under the Act.

      37.    MFC retaliated against Plaintiff for her protected activity in violation

of 41 U.S.C. § 4712 (a) by suspending and then firing her, refusing to pay her

severance as called for in the Employment Contract, and by disparaging her to

prospective employers and her doctorate program.

      38.    Plaintiff has exhausted all available administrative remedies as of June

15, 2018 pursuant to 41 U.S.C. § 4712(c).

      39.    As a result, Plaintiff was harmed, and continues to be harmed, in that

she was denied the benefits of employment, suffered economic loss, damage to her

professional reputation, emotional distress, and damage to her health.

                                   COUNT II
                                Breach of Contract

      40.    MFC’s commitments in the Employment Agreement (Ex. 1) constitute

valid and enforceable contractual promises to Plaintiff.




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      41.    MFC’s actions discussed above constitute breaches of the promises

contained in the Employment Agreement.

      42.    As a direct and proximate result of MFC’s breaches, Plaintiff has

suffered damages.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff seeks actual damages for humiliation, emotional

distress, lost wages (including front pay, back pay, and benefits), punitive damages,

exemplary damages, injunctive relief, costs, attorney’s fees, and all other relief in

law or equity that this Court may deem just and proper.

                                       Respectfully submitted,

                                       /s/ David M. Blanchard
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                        DEMAND FOR JURY TRIAL

      NOW COMES Plaintiff, Bethany Brown, by and through her attorneys,

Blanchard & Walker, PLLC, and hereby demands a jury trial in the above-captioned

matter.

                                    Respectfully submitted,

                                    /s/ David M. Blanchard
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Dated: June 27, 2018




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